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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


In re:                                       :           Chapter 7

Barry J. Esterman                            :

               Debtor(s)                     :           Bankruptcy No. 16-15487 amc



                                          ORDER


                AND NOW, it is ORDERED that since the Debtor has failed to
         timely file all the documents required by the Order dated 8/02/2016,
         this case is hereby DISMISSED.




         Date: August 24, 2016
                                          Ashely M. Chan
                                          United States Bankruptcy Judge




         Missing Documents:


                      Matrix List of Creditors                (due 8/08/2016)
                      Certificate of Credit Counseling


                      Statement of Financial Affairs         (due 8/15/2016)
                      Schedules A/B, C, D, E/F, G, H, I, J
                      Summary of Assets and Liabilities Form B106Sum
                      Chapter 7 Statement of Current Monthly Income Form 122A-1
                      Means Test Calculation Form 122A-2
